Case 1:21-cr-00392-RM

 

Finish Armor, LLC

Document 44-1 Filed 05/23/22 USDC Colorado Page 1 of 14

« Close Window
« Prnt This Page

¢ Expand All| Collapse All

 

Fields

Record Locked
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Payment Amount

Owner 1 Winner %
Owned

Owner 4 Winner City
Owner t Winner State
Owner 4 Winner Street
Owner 1 Winner Zip
Owner 1 Winner Taxi?
BusinassZipSDigit
ETran Loan Name

Logn Disbursement Date

Loan Eligibility

Are you a current bark
customer?

Operating Priorto Feb 15
2820

Accommodation Or Food
Sector Business

Loan Amount Greater
than Payroll Amount

$36,580.03
100%

Highlands Ranch
Colorado

9457 S University Blvd
80126

80126
Finish Armor, LLC SBA PPP Loan

Yes

Yes

SBA Loan Application-Business Information

Business Type

Boing Business As
Name (if applicable}

Business Street

Business City

State

Business Zip
Business Country
Loan Purposefs}

Annual Revenue of the
business

Applicant associated w
Financial inst

SBA Franchise Directory

Owners Federally
Suspended

Owners Manage
Affiliates

FOIA CONFIDENTIAL

LLC

9457 S University Blvd
Highlands Ranch

Colorado

80126

USA

Payroll; Lease / Mortgage Interest; Utilities
$12,984,142

No

N/A
No

No

Owner 1 Fields Winner
Owner 4 Individual Field
Fil} Count

Owner 1 Business Field
Fil! Count

Owner 1 Winner State

Cperating State

Number of Jobs

Does the business
employ more than $00

Business Legal Name

Susiness TIN
industry NAICS Code

Date Business
Established

Other Loan Purpose

Franchise name

Owners Delinquent

Received Disaster Loan

Business

6

co

Colorado

48

Finish Armor, LLC

325510
12/31/2019

No

No

ZEANO4BIS

ZB_00000004
Case 1:21-cr-00392-RM

Subject toindictment No

Employee Residence
Question

Yes

Authorized Signer Info

Authorized Signer: First Daniel
Name
Authorized Signer: Last  Stonebarger
Name
Role in the Business —_ Individual

Agent Prepared No

Name of Agent {if
applicable)

Loan Request Amount

Refinancing EIDL No

Monthly Payroll Costs $267,495.00
Owner 1
Owner 1 Ownership Type Business

Owner 1 First Name

Owner 1 Last Name
Owner 1 Title

Owner 1 SSN

Owner 1 U.S Citizen or

permanent residen

Owner 1 Street
Owner 4 City

Owner 1 State

Owner 1 Zip code

Owner 1 Country

Owner 41 % Owned

Owner 2
Owner 2 Ownership Type

Owner 2 First Name

Owner 2 Last Name

Owner 2 Title

Owner 2 SSN

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Crime Against Minor

SSN

Date of Birth

Authorized Signer: Email
Mobile Phone

Business Phone

Net EIDL Loan Amount

Loan Amount

Owner 1% Owned

Owner 4 Legal Business
Name

Owner 1 Business Type

Owner 1 Date Business
Established

Owner 1 Business
TIN/ISSN

Owner 1 State of
Business Organization

Owner 1 Business Street

Owner 1 Business City
Owner 1 Business State

Owner 1 Business Zip
code

Owner 1 Business
Country

Owner 1 Authorized
Signer First Name

Owner 1 Authorized
Signer Last Name

Owner 1 Roie in
Business

Owner 1 Signer SSN
Owner 1 Date of Birth

Owner 2 % Owned

Owner 2 Legal Business
Name

Owner 2 Business Type

Owner 2 Date Business
Established

Owner 2 Business
TINISSN

No

4230

4 72

$650,000

100%
Finish Armor, LLC

LLC
8/1/2019

Colorado
9457 S University Blvd

Highlands Ranch
Colorado

80126

USA

Daniel
Stonebarger
Individual

4230

ZHanoaast

ZB_00000005
Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22 USDC Colorado Page 3 of 14

Cremer 2 US Citizen or
permanent residen

Cramer 2 Street
Cremer 2 City
Crener 2 State

Cremer 2 zip code

Owner 2 Country

Qumer 2% Owned

Owner 3
Owner 3 Qwnership Type

Craner 3 First Name

Owner 3 Last Name

Cramer 3 Title

Caner 3 SSN

Cramer 3 U.S Citizen or
permanent residen

Cramer 3 Street
Creamer 3 City
Cnener 3 State

Owner 3 Zip code

Owner 3 Country

Quner 3% Owned

Owner 2 State of
Business Organization

Cremer 2 Business Street
Owner 2 Business City
Coaner 2 Business State

Ovwmer 2 Business Zip
code

emer 2 Business
Country

Quner 2 Authorized
Signer First Name

Cremer Z Authorized
Signer Last Name

Cramer 2 Role in
Business

Guner 2 Signer SSN
Owner 2 Date of Birth

Quner 3% Owned

Cremer 3 Legal Business
Name

Owner 3 Business Type

Owner 3 Date Business
Established

Gamer 3 Business
TINISEN

Owner 3 State of
Business Organization

Cramer 3 Business Street
Owner 3 Business City
Coaner 3 Business State

Owner 3 Business Zip
code

emer 3 Business
Country

Qwner 3 Authorized
Signer First Name

Cremer 3 Authorized
Signer Last Name

Qemer 3 Role in
Business

Owner 3 Signer SSN

Owner 3 Date of Birth

 

Owner 4
Owner 4 Ownership Type

Owner 4 First Name

Owner 4 Last Name

Owner 4 Title

Owner 4 SSN

Owner 4 US Citizen or

FOIA CONFIDENTIAL

Owner 4 % Owned

Owner 4 Legal Business
Name

Owner 4 Business Type

Owner 4 Date Business
Established

Owner 4 Business
TIN/SSN

Owner 4 State of

ZB-00004838

ZB_00000006
Case 1:21-cr-00392-RM

permanent residen

Owner 4 Street
Owner 4 City
Owner 4 State

Owner 4 Zip code
Owner 4 Country

Owner 4 % Owned

Owner 5
Owner 5 Ownership Type
Owner 5 First Name

Owner 5 Last Name

Owner 5 Title
Owner 5 SSN

Owner § U.S Citizen or
permanent reside

Owner 5 Street
Owner 5 City
Owner 5 State

Owner § Zip code
Owner 5 Country

Owner 5 % Owned

Funding
Funding Account Type DDA

Credit Lead Transaction
ID

SBA Loan Number

System Information

SBA Loan Application Finish Armor, LLC

Opportunity Link Jf

FOIA CONFIDENTIAL

Document 44-1 Filed 05/23/22 USDC Colorado Page 4 of 14

Business Organization
Owner 4 Business Street
Owner 4 Business City
Owner 4 Business State

Owner 4 Business Zip
code

Owner 4 Business
Country

Owner 4 Authorized
Signer First Name

Owner 4 Authorized
Signer Last Name

Owner 4 Role in
Business

Owner 4 Signer SSN
Owner 4 Date of Birth

Owner 5% Owned

Owner 5 Legal Business
Name

Owner 5 Business Type

Owner 5 Date Business
Established

Owner 5 Business
TINISSN

Owner 5 State of
Business Organization

Owner 5 Business Street
Owner 5 Business City
Owner § Business State

Owner 5 Business Zip
code

Owner 5 Business
Country

Owner 5 Authorized
Signer First Name

Owner 5 Authorized
Signer Last Name

Owner § Role in
Business

Owner 5 Signer SSN
Owner § Date of Birth

Funding Account #

Funding Account
Routing #

Loan Identification
Number

Application Complete

Ready for Automation

5798597356

7500004839

ZB_00000007
Case 1:21-cr-00392-RM Document 44-1

Opportunity Finish Armor, LLC

Opportunity Owner  M H
Name

Opportunity Ownerid 00560000008elRI
Affiliate VBC

Created By Daniel Stonebarger, 6/4/2020 9:52 AM

LastModified By J 5 |, 6/24/2020 6:26 AM

Hidden

Allow Retro Bocusign

Primary Officer

Notes & Attachments
PPP Payroll support

Filed 05/23/22 USDC Colorado Page 5 of 14

Ready for Automation
Queue

Ready for Funding

Funded
Automation Feedback

Automation Feedhack
Detail

Owner

Business Legal Name
Changed

Application Contact

 

Type Note
Last Modified M 4H

Client didn't upload any payroll documents, have

Description requested.

SBA Loan Application History
6/6/2020 10:48 AM

User M H
Connection
Action Changed Funding Account # to 5798597356.

6/4/2020 10:25 AM
User ETO Data Loader
Connection
Action Changed Opportunity to Finish Armor, LLC.

6/4/2020 10:21 AM

User Daniel Stonebarger
Connection

Action Changed Business Legal Name to Finish Armor, LLC.

6/4/2020 9:52 AM

Daniel Stonebarger

Daniel Stonebarger

 

User Daniel Stonebarger
Connection
Action Created.

Opportunities
Finish Armor, LLC

 

Stage Closed Lost
Close Date 6/11/2020
Created Date 6/4/2020
Owner Full Name M H
Other Team Member $ A

SBA Linked

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ZS-ihitaadd

ZB_00000008
Case 1:21-cr-00392-RM

 

Finish Armor, LLC

Document 44-1 Filed 05/23/22 USDC Colorado Page 6 of 14

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Fields

Record Locked
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Payment Amount
Owner 4 Winner %
Owned —
Ownar 4 Winner City
Owner f Winner State”
Owner 7 Winner Sireet
Owner 1 Winner Zip
Owner i Winner TaxiD
BusinessZipsBigit
ETran Loan Name

Loan Disbursement Date

Loan Eligibility

Are you 4 current bank
custamer?

Opersting Prior to Feb 15
2020

Accommadation Or Food
Sector Business

Loan Amount Greater
than Payroll Amount

SBA Loan Application-Business Information

Business Type

Doing Business As
Name (if applicable)

Business Street

Businesa City

State

Business Zip
Business Country
Loan Purposes}

Annual Revenue of the
business

Applicant associated w
Financial Inst

SBA Franchise Directory

Owners Federally
Suspended

Owners Manage
Affiliates

FOIA CONFIDENTIAL

$45,033.34
100%

Highlands Ranch
Colorado ;
9459 S University Blvd, Sue # 807

80126

80126
Finish Armor, LLC SBA PPP Loan

Yes

Yes

¥

LLC

9459 S University Blyd
Highlands ranch

Cotorado

80126

USA

Payroil; Lease / Mortgage Interest: Utilities
$8,000,000

No

N/A
Ho

No

Owner 1 Fields Winner
Owner 4 individual Field
Fi Count

Cwner t Business Field
Filf Count

Owner 1 Winner State

Operating State

Namber of Jobs

Doas the business
employ more than 500

Business Legal Name

Business TiN
Industry NAICS Code

Daie Business
Established

Other Loan Purpose

Franchise namo

Owners Oetinqyent

Received Disaster Loan

Business

co

Colorado

26

Finish Armor, LLC

325510
42/31/2019

No

No

ZB-00004841
ZB_00000009
Case 1:21-cr-00392-RM

Subject to indictment No

Employee Residence Yes
Question
Authorized Signer Info
_ Authorized Signer: First Daniel
Name
Authorized Signer: Last  Stonebarger
: Name
Role inthe Susiness Officer
Agent Prepared — No
Name of Aganit {if
applicable}

Loan Request Amount
Refinancing ENN. No

Monthly Payroll Casts $327,194 34 3
Owner 1
Owner 1 Ownership Type Business

' Owner 1 First Name

Owner 1 Last Name
Owner 1 Title -

Owner i SSN

Owner 1 U.S Citizen or

permanent residen

Owner 1 Street

Owner 7 City
Owner 7 State

Owner 1 Zip code
Owner 1 Country

~ Owner 1 % Owned

Owner 2
Owner 2 Qwnership Type

Owner 2 First Name

Owner 2 Last Name
Owner 2 Title

Owner 2 SSN

FOIA CONFIDENTIAL

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Crime Against Minor

SSN
Date of Birth

Authorized Signer: Email
Mobile Phone

Business Phone

Net CHL, Loan Amount

Loan Amount

Owner 1% Owned

Owner 1 Legal Business
Name

Owner 1 Business Type

Owner 1 Gate Business
Estatlished

Owner 1 Business
TIN/SSN

Owner 1 State of
Susiness Organization

Qwner 7 Business Street

Owner 1 Business Cify
Owner 1 Business State

Owner 1 Business Zip
code

Owner 1 Business
Country

Owner 1 Authorized
Signer First Name

Owner 1 Authorized
Signer Last Name

Owner t Rete in
Business

Owner 4 Signer SSN

Owner 1 Date of Birth

Owner 2% Owned

Owner 2 Legal Business
Name

Owner 2 Business Syps

Owner 2 Date Business
Established

Owner 2 Business
TIN/JSSN

No

4230

4 72

$817,978

100%
Finish Armor

LLC
12/31/2019

Colorado
9459 S University Blvd, Suite # 807

Highlands Ranch
Colorado
80126

USA

Daniel
Stonebarger
Officer

4230

ZB-00004842
ZB_00000010
Case 1:21-cr-00392-RM

Oamner 2 US Citizen or
permanent residen

Owner 2 Street
Owner 2 City
GSwner 2 State

Owner 2 zip code
Cawmer 2 Country

Owner 2% Owned .

_ Owner 3
Chvner 3 Ownership Type

Owner 3 Firat Name

Guner 3 Last Name

Owner 3 Tile

Gwner 3 SSN

Owner 3 US Citizen ‘or
permanent rasiden

Owner 3 Strent
Owner 3 City
Owner 3 State .

Owner 3 Zip code
Owner 9 Country

Chamer 3% Owned

Owner 4
Chener 4 Covnership Type

Quwner 4 Firat Name

Chwner 4 Last Name

Owner 4 Tite
Quner 4 S3N

Owner 4 US Citizen or

FOIA CONFIDENTIAL

Document 44-1 Filed 05/23/22 USDC Colorado Page 8 of 14

Owner 2 State of
Business Organization

Gwner 2 Business Streat
Owner 2 Business City
Owner 2 Susiness Stale

Owner 2 Business Zip
code

Owner 2 Business
Country

Owner 2 Authorized
Stoner First Name

Owner 2 Authorized
Signer Last Name

Owner 2 Rolie in
Business

franer 2 Signer SSN

Owner 2 Date of Birth

Gwner 3% Owned

Quwner 3 Legal Business
Name

Owner 3 Business Type

OQumer 3 Date Business
Established

Owner 3 Business
TIN/SSN

Gwmner 3 State of
Business Organization

Oumer 3 Business Street
Owner 2 Business City
Oumer 3 Business State

Ooyner 3 Business Zip
eode

Cramer 3 Business
Country

Owner 3 Authorized
Signer First Name

Owner 3 Autharized
Signer Last Name

Owner 3 Role in
Business

Owner 3 Signer 83N
Owner 2 Date of Birth

Owner 4% Gwned

Owner 4 Legal Business
Name

Owner 4 Business Type

Owner 4 Date Business
Established

Caner 4 Business
TIN/SSN

Owner 4 State of

ZB-00004843
ZB_00000011
Case 1:21-cr-00392-RM

permanent residen

Owner 4 Street
Owner 4 City
wher 4 State

Owner 4 Zip code
Oumer 4 Country

Owner 4% Owned

Owner 5.

Oumer 5 Ownership Type

Owner § First Name

Owner § Last Name

Cawner 5 Tite
Owner 5 SSN
. Owner $ U8 Citizen or

permanent reside

Owner 5 Street

Chener 8 Cy .

Covnier § State

Oumer 3 Zip cade _
Qwner 6 Country

Gwner 5 Yo Owned

Funding
Funding Account Type

Credit Lead Transaction
1

SBA Loan Nurmber

System information

SSA Loan Application
Name

Opportunity Link

FOIA CONFIDENTIAL

Finish Armor, LLC

Business Organization
Owner 4 Business Street
Owner 4 Business City
Ouner 4 Business State

Owner 4 Business Zip
code

Owner 4 Business
Country

Owner 4 Authorized
Signer Firat Name

Owner 4 Authorized
Signer Last Name

Camer 4 Role in
Business

Owner 4 Signer SSN
Guner 4 Date of Birth

Owner 5% Owned

Owner § Legal Business
Name

Owner 5 Business Type

Owner § Gate Business

Established .

Ownar 5 Business
TIN/SSN

Oumer 5 State of
Business Organization

Owner 5 Business Street
Owner § Business City
Coyner 5 Business State

Owner 5 Business Zip
code

Owner 5 Business
Country

Owner § Authorized
Signer First Neme

Owner 3 Authorized
Signer Last Name

Orvner 5 Role in
Business

Owner 5 Slaner SSN

Owner 5 Date of Birth

Funding Account #

Funding Account
Routing #

Loan Wentification
Number

Application Complete

Ready for Automation

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ZB-00004844

ZB_00000012
Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22 USDC Colorado Page 10 of 14

 

Opportunity Finish Armor, LLC Ready for Automation
Queue
Opportunity Owner €£ A Ready for Funding z
Name .
Opportunity Owner id = GOS8000000FE7gb Funded
Affiliate VBC Atijomation Feedback
Created By Daniel Stanebarger, 6/5/2020 12:12 PM Automation Feedback
Detail
Last Modified By =. z , 612472020 6:30 AM Owner Daniel Stonebarger
Hidden iby Business Legal None
= ‘ Changed
Atiow Retro Docusign ee : ° Application Contact Daniel Stonebarger
Primary Offiear
Notes & Attachments .
Payroll Protection Summary - Finish Armor Payroll Protection Summary - Finish Armor
Type File Fype File
Last Modified: Danlel Stonebarger Last Modified Daniel Stonebarger
Description. Dascription

Download = : ae Down!

SBA Loan Application History
6/5/2020 42:27 PM :
User Daniel Stonabarger
Connection
Action Changed Application Complete from faise to true.

 

6/5/2020 12:17 PM

User ETO Data Loader
Connection. ,
Action Changed Opportunity te Finish Armor, LLC.

 

6/5/2020 12:15 PM:
User Danlef Stenebarger
Connection’
Action’ Changed Business Legal Name to Finish Armor, LLC.

 

6/5/2020 12:12 PM
User. Daniel Stonebarger
Gonnection
Action. Created.

 

Opportunities
Finish Armor, LLG
Stage. Closed Lost
Close Date &{T2/2020
Created Date 6/5/2020
Owner Full Name Si A
Other Team Member
SBA Linked

 

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ZB_00000013
FOI CONFIGENTIAL
SAR CONFIDENT AL

Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22 USDC Colorado Page 11 of 14

 

From: a
Sent: Thursday, July 9, 2020 5:14 AM

To: ES Fraud Cases
Subject: FW: BM Finish Armor, LLC Daniel D Stonebarger VBC

Categories: July 23

BSA/AML Compliance Manager, AVP

Financial Intelligence Unit (FIU)

Conduct, Security & Financial Crimes Risk Management
anf

B | (Office)

ZIONS BANCCRPORATION

 

From: no-reply@zionsbancorp.com <no-reply @zionsbancorp.com>
Sent: Wednesday, J 20 1:29 PM

To: Es roup < roup@zionsbancorp.com>

  
   

  

cc: zionsbancorp.com>
Subject: J Finish Armor, LLC Daniel D Stonebarger VBC
S=s = BREFERRAL FORM =
Employee_Involved : No
Fraud_Involved : Yes
Division_Affected : VBC
= = = SUBJECT INFORMATION = = =
= = Subject 1 = =

Company_Name_1 : Finish Armor, LLC
First_Name_1 : Daniel
Middle_Name_1i : D

Last_Name_1 : Stonebarger

Street_1 : 9459S University Blvd, Suite # 807

1

ZBHNA-COlonas;

ZB_ 00000057
Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22 USDC Colorado

City_1 :
State_1 :
Zip_1 :

Home_Phone_1

Business_Phone_1

Birth_Date_1 :
SSN_EIN_1 :
Occupation_Type_Biz_1 :
Gender_1 :

ID_Type_1 :
ID_Type_Other_1 :
ID_Issuer_1 :
ID_Issuer_Other_1 :

ID_Number_1 :
Physical_Description1 :

Relationship_with_bank_1 :
Relationship_Type_Deposit_Accounts_1 :
Relationship_Type_Loans_ 1 :
Relationship_Type_Bankcards_1 :
Relationship_Type_Other_1 :
Relationship_Type_Other_Desc_1 :

Affiliated_Businesses_1 :

Acct_Affected_No_1 :
Acct_Affected_Type_1 :
Acct_Affected_Other_1 :

: I
: //
Acct_Affected_No_2 :

Acct_Open_Date_1

Acct_Close_Date_1

Acct_Affected_Type_2 :
Acct_Affected_Other_2 :
: //
: //

Acct_Open_Date_2

Acct_Close_Date_2

FOIA CONFIDENTIAL
SAR CONFIDENTIAL

Highlands Ranch
co
80126

: 3032468641
: 3032468641

1972

4230
Paint and Coating Manufacturing
Male

Unknown

Page 12 of 14

Unknown - all communication has been done via email or phone. Personal address i

11020 Timber Ridge Lane, Highlands Ranch, CO 80130.

No

Finish Armor, LLC - PPP Application

= == UNUSUAL ACTIVITY = ==
2

Z5.BSA.00000458

ZB_00000058
Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22

Acct_Affected_No_3
Acct_Affected_Type_3
Acct_Affected_Other_3
Acct_Open_Date_3
Acct_Close_Date_3
Date_of_ Activity Start

Date_of_Activity_End

Approx_Time_of_ Activity :

Approx_Time_of_Activity_am_pm

Total_Transaction_Amount

Amount_in Currency :

Amount_in_Currency_Cash_In
Cash_in_100s

Cash_in_50s

Cash_In_20s

Cash_in_10s

Cash_in_5s

Cash_in_2s

Cash_in_1s
Amount_in_Currency_Cash_Out
Cash_Out_100s

Cash_Out_50s

Cash_Out_20s

Cash_Out_10s

Cash_Out_5s

Cash_Out_2s

Cash_Out_1s
Type_of_Instrument_Cash

Type_of_Instrument_Checks

Type_of_Instrument_Official_Check :

Type_of_Instrument_MO :

Type_of_Instrument_Travelers_Checks

Type_of_Instrument_Wires

FOIA CONFIDENTIAL
SAR CONFIDENTIAL

> //
> //
: 06/05/2020
: 07/08/2020

: 817,978.00

No

: Yes

No
No
No
No
No
No

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ZB-8SA-00000459

ZB_00000059
Case 1:21-cr-00392-RM Document 44-1 Filed 05/23/22

Type_of_Instrument_ACH

Type_of_Instrument_Foreign :

Type_of_Instrument_Debit_Card
Type_of_Instrument_ATM_Card
Type_of_Instrument_Credit_Card
Type_of_Instrument_Loan

Type_of_Instrument_Other

Type_of_Instrument_Other_Desc :

Description_of_Unusual_Activity :

Isolated_Incident

Isolated_Incident_Explain

Corroborative_Statement :

Corroborative_Statement_Explain : . . . .
- Exp details supporting business revenue and PPP documentation, stating on 7/8 that he

Branch_Dept_Name :
Cost_Center :

Witness Prepared By :

Title
Branch_Dept_Phone

Date Submitted

Supporting Documentation_Attached :

FOU CONFIDENTIAL
SAR CONFIDENTIAL

USDC Colorado Page 14 of 14

: No

No

: No
: No
: No
: No
: No

Applicant of PPP loan (2 applications) requesting $817,978 in PPP funds and to set
up new deposit account. Suspect stated he opened in 12/2019 but SOS registration
is 4/2020 and is reporting annual revenues of $8,000,000. The business address is a
UPS store and the personal residence is owned by another individual and does not
indicate it's a rental property. Suspect's claims of business need for PPP and busines
history indicate ineligibility and attempted fraud.

: Yes

Yes
Account officer requested utility statements and lease agreements to support
personal and business addresses. Suspect has also refused to provide additional
will try and move the application through a different application source.
=== SUBMITTER INFORMATION = = =
BDO Admin
1422
M H

: Business Development Officer
: 3038185720
: 07/08/2020

= = = SUPPORTING DOCUMENTATION = = =
No

FB-Aréiniiiait

ZB_00000060
